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State of Kansas, et al.,
                                                           027,2172$33($5
Plaintiffs,                                                352+$&9,&(

               Y
United States of America, et al.,                          &DVH1R1:24-cv-00150-DMT-CRH

Defendants.




                     Marty J. Jackley DQDWWRUQH\IRU State of South Dakota

PRYHVWKHFRXUWSXUVXDQWWR'1'*HQ/5 ' IRUOHDYHWRDSSHDUSURKDFYLFH

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FRQVLGHUDWLRQE\WKH&RXUW

 2WKHU%DU$GPLVVLRQV      South Dakota State Bar, No. 2447
 OLVWMXULVGLFWLRQ ,'       District Court of South Dakota
 QXPEHUIRUHDFKMXULVGLFWLRQ U.S. Court of Appeals for the Eighth Circuit, No. 98-0471
                              Supreme Court of the U.S.




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 OLVWDOOSDVWRUSHQGLQJ
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    Case 1:24-cv-00150-DMT-CRH                        Document 85         Filed 10/15/24    Page 2 of 2




       ,ZLOOFRPSO\ZLWKWKH/RFDO5XOHVRIWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH'LVWULFWRI

1RUWK'DNRWDDQGZLOOVXEPLWWRWKHMXULVGLFWLRQRIWKHFRXUWLQPDWWHUVRIGLVFLSOLQH

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                                 October, 2024
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